Case 3:18-cr-00757-BRM Document 29 Filed 12/20/18 Page 1 of 9 PagelD: 255

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au 6:30 WALST United States Attorney
CLERK District of New Jersey

U.S, Department of Justice

 

 

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Newark, NJ OT}O02

DAW TE AGK
2Olhae

November 21, 2018

Robert Bianchi. Iisq.
The Bianchi Law Group, LLC
4 York Avenue, 2nd Floor

West Caldwell. New Jersey 07006 { b - 7] S q ( BEM )

Re: Plea Agreement with STEPHEN BRADLEY MELL

Dear Mr. Bianchi:

This letter sets forth the plea agreement between your client, STEPHEN
BRADLEY MELL, and the United States Attorney for the District of New Jerscy (“this
Office”). ‘The Government's offer to enter into this plea agreement will expire on
November 26, 2018, if a signed copy of the plea agreement is not reccived by this Office
on or before that date.

Charges

Conditioned on the understandings specified below, this Office will accept a
guilty plea from STEPHEN BRADLEY MELL, pursuant to Rule 11(c){1}(C) of the
Federal Rules of Criminal Procedure to a two-count Information, which charges
1) receipt of child pornography, in violation of 18 U.S.C. § 2252A(a)(2), and 2) travel
with intent to engage in illicit sexual conduct, in violation of 18 U.S.C. § 2423(b).

 
Case 3:18-cr-00757-BRM Document 29 Filed 12/20/18 Page 2 of 9 PagelD: 256

 

Should the Court at any time reject the plea under Federal Rule of Criminal
Procedure 11(c)(1)(C) or act contrary to its terms, either party may elect to be relieved of
the terms of this plea and the parties will be returned to the status prior to the entry of the
plea. This Office will advise the Court and the Probation Department of information
related to sentencing, and such information may be used by the Court in determining
STEPHEN BRADLEY MELL’s sentence. In the event that the Court defers a decision
to accept the plea until the court has reviewed the presentence report, neither party will
move to withdraw from this agreement unless or until the Court ultimately determines to
reject the proposed plea.

Sentencing

ount ~ Receipt of Child Porno

The violation of 18 U.S.C. § 2252A(a)(2) to which STEPHEN BRADLEY MELL agrees
to plead guilty carries a statutory maximum sentence of 20 years’ imprisonment, a statutory
mandatory minimum sentence of five (5) years, and a statutory maximum fine equal to the
greatest of: (1) $250,000; (2) twice the gross amount of any pecuniary gain that any persons
derived from the offense; or (3) twice the gross amount of any pecuniary loss sustained by any
victims of the offense. Fines imposed by the sentencing judge may be subject to the payment of
interest.

Pursuant to 18 U.S.C. § 2252A(b)(1), if the Court determines that STEPHEN BRADLEY
MELL has a prior sex offense conviction under Chapter 110, section 1591, Chapters 71, 109A,
or 117, or under section 920 of title 10 (article 120 of the Uniform Code of Military Justice), or
under the laws of any state relating to aggravated sexual abuse, sexual abuse, or abusive sexual
conduct involving a minor or ward, or the production, possession, receipt, mailing, sale,
distribution, shipment, or transportation of child pornography, or sex trafficking of children, the
violation of 18 U.S.C. § 2252A(a}{2) to which STEPHEN BRADLEY MELL agrees to plead
instead carries a mandatory minimum sentence of fifteen (15) years and a statutory maximum
prison sentence of forty (40) years.
Case 3:18-cr-00757-BRM Document 29 Filed 12/20/18 Page 3 of 9 PagelD: 257

Count Two — Interstate Travel to En in Illicit nduct

The violation of 18 U.S.C. § 2423(b) to which STEPHEN BRADLEY MELL agrees to
plead guilty carries a statutory maximum sentence of 30 years’ imprisonment and a statutory
maximum fine equal to the greatest of: (1) $250,000; (2) twice the gross amount of any
pecuniary gain that any persons derived from the offense; or (3) twice the gross amount of any
pecuniary loss sustained by any victims of the offense. Fines imposed by the sentencing judge
may be subject to the payment of interest.

Pursuant to 18 U.S.C. § 2426(a), if the Court determines that STEPHEN BRADLEY
MELL has a prior sex offense conviction, the violation of 18 U.S.C. § 2423(b) to which
STEPHEN BRADLEY MELL agrees to plead instead carries a maximum prison sentence of
sixty (60) years.

Further, in addition to imposing any other penalty on STEPHEN BRADLEY MELL, the
sentencing judge: (1) will order STEPHEN BRADLEY MELL to pay an assessment of $100 per
count pursuant to 18 U.S.C. § 3013, which assessment must be paid by the date of sentencing;
(2) must order STEPHEN BRADLEY MELL to pay restitution pursuant to 18 U.S.C. § 2259; (3)
must order forfeiture, pursuant to 18 U.S.C. § 2253; and (4) pursuant to 18 U.S.C. § 3583 must
require STEPHEN BRADLEY MELL to serve a term of supervised release of at least five (5)
years and up to a maximum term of life on supervised release, which will begin at the expiration
of any term of imprisonment imposed. Should STEPHEN BRADLEY MELL be placed on a
term of supervised release and subsequently violate any of the conditions of supervised release
before the expiration of its term, STEPHEN BRADLEY MELL may be sentenced to not more
than five (5) years’ imprisonment in addition to any prison term previously imposed, regardless
of the statutory maximum term of imprisonment set forth above and without credit for time
previously served on post-release supervision, and may be sentenced to an additional term of
supervised release.

However, pursuant to 18 U.S.C. § 3583(k), should STEPHEN BRADLEY MELL be
placed on a term of supervised release and subsequently commit an offense while on release in
violation of chapters 109A, 110, or 117, or section 1201 or 1591 of the United States Code, for
which imprisonment for a term longer than one (1) year can be imposed, STEPHEN BRADLEY
MELL must be sentenced to at least five (5) years' imprisonment in addition to any prison term
previously imposed, regardless of the statutory maximum term of imprisonment set forth above
and without credit for time previously served on post-release supervision, and may be sentenced
to an additional term of supervised release.

In addition, pursuant to the Justice for Victims of Trafficking Act of 2015, upon
conviction, unless the Sentencing Court finds the defendant to be indigent, an additional
mandatory special assessment of $5,000 must also be imposed.

Pursuant to Rule 11(c\(1)(C) of the Federal Rules of Criminal Procedure, this Office and
STEPHEN BRADLEY MELL agree that a sentence of 60 months’ imprisonment and 5 years’

3
Case 3:18-cr-00757-BRM Document 29 Filed 12/20/18 Page 4 of 9 PagelD: 258

supervised release is the appropriate disposition of this case. Accordingly, if the Court accepts
this plea agreement, STEPHEN BRADLEY MELL will be sentenced to a term of 60 months’
imprisonment and 5 years’ supervised release.

 

Except as otherwise provided in this agreement, this Office reserves its right to take any
position with respect to the appropriate sentence to be imposed on STEPHEN BRADLEY
MELL by the sentencing judge, to correct any misstatements relating to the sentencing
proceedings, and to provide the sentencing judge and the United States Probation Office all law
and information relevant to sentencing, favorable or otherwise. In addition, this Office may
inform the sentencing judge and the United States Probation Office of: (1) this agreement; and
(2) the full nature and extent of STEPHEN BRADLEY MELL's activities and relevant conduct
with respect to this case.

Stipulati

This Office and STEPHEN BRADLEY MELL agree to stipulate at sentencing to the

statements set forth in the attached Schedule A, which hereby is made a part of this plea

t. These stipulations are offered as recommendations to the Court pursuant to Rule
11(c)(1)(C) of the Federal Rules of Criminal Procedure. To the extent that the parties do not
stipulate to a particular fact or legal conclusion, each reserves the right to argue the existence of
and the effect of any such fact or conclusion upon the sentence. Moreover, this agreement to
stipulate on the part of this Office is based on the information and evidence that this Office
possesses as of the date of this agreement. Thus, if this Office obtains or receives additional
evidence or information prior to sentencing that it determines to be credible and to be materially
in conflict with any stipulation in the attached Schedule A, this Office shall not be bound by any
such stipulation. A determination that any stipulation is not binding shall not release either this
Office or STEPHEN BRADLEY MELL from any other portion of this agreement, including any
other stipulation. Ifthe sentencing court rejects a stipulation, both parties reserve the right to
argue on appeal or at post-sentencing proceedings that the sentencing court was within its
discretion and authority todo so. These stipulations do not restrict this Office’s right to respond
to questions from the Court and to correct misinformation that has been provided to the Court.

Waiver of Appeal and Post-Sentencing Rights

As set forth in Schedule A, this Office and STEPHEN BRADLEY MELL agree that,
provided the District Court imposes a sentence in accordance with this Rule 11(c)(1)(C) plea
agreement, neither party will appeal that sentence. STEPHEN BRADLEY MELL further
agrees that, in exchange for the concessions the United States made in entering into this Rule
11(e)(1X(C) plea agreement, he will not challenge his conviction for any reason by any means,
other than ineffective assistance of counsel, and he will not challenge or seek to modify any
component of his sentence for any reason by any means, other than ineffective assistance of
counsel, The term “any means” includes, but is not limited to, a direct appeal under 18 U.S.C. §

4
Case 3:18-cr-00757-BRM Document 29 Filed 12/20/18 Page 5 of 9 PagelD: 259

3742 or 28 U.S.C. § 1291, 2 motion to vacate the sentence under 28 U.S.C. § 2255, a motion to
reduce the sentence under 18 U.S.C. § 3582(c)(2), a motion for early termination of supervised
release under 18 U.S.C. § 3583(e)(1), or any other motion, however captioned, that seeks to
attack or modify any component of the judgement of conviction or sentence.

Forfeiture

STEPHEN BRADLEY MELL agrees, as part of his acceptance of responsibility and
pursuant to 18 U.S.C. § 2253, to forfeit to the United States (1) all computer and computer
accessories on which law enforcement, in or about May 2018, discovered visual depictions
described in Sections 2251, 2251A, 2252, 22524, 2252B, and 2260 of Title 18 of the United
States Code; (2) all visual depictions described in Sections 2251, 2251A, 2252, 2252A, 2252B,
and 2260 of Title 18 of the United States Code that were produced, transported, shipped, or
received in violation of chapter 109A of Title 18, United States Code; (3) all property, real and
personal, constituting or traceable to gross profits or other proceeds obtained from the offenses
charged in the Information; and (4) all property, real and personal, used or intended to be used to
commit or to promote the commission of the offenses charged in the Information and all property
traceable to such property (the “Forfeitable Property”).

STEPHEN BRADLEY MELL further agrees to waive all interest in the Forfeitable
Property in any administrative or judicial forfeiture proceeding, whether criminal or civil, state
or federal. STEPHEN BRADLEY MELL agrees to consent to the entry of orders of forfeiture
for the Forfeitable Property and waives the requirements of Rules 32.2 and 43(a) of the Federal
Rules of Criminal Procedure regarding notice of the forfeiture in the charging instrument,
announcement of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment.
STEPHEN BRADLEY MELL understands that the forfeiture of Forfeitable Property is part of
the sentence that may be imposed in this case and waives any failure by the court to advise him
of this pursuant to Rule 11(b(1)(J) of the Federal Rules of Criminal Procedure at the guilty plea

proceeding.

STEPHEN BRADLEY MELL hereby waives any and all claims that this forfeiture
constitutes an excessive fine and agrees that this forfeiture does not violate the Eighth
Amendment.

tion

The defendant understands that, if he is not a citizen of the United States, his guilty plea
to the charged offenses will likely result in his being subject to immigration proceedings and
removed from the United States by making him deportable, excludable, or inadmissible, or
ending his naturalization. The defendant understands that the immigration consequences of this
plea will be imposed in a separate proceeding before the immigration authorities. The defendant
wants and agrees to plead guilty to the charged offenses regardless of any immigration
consequences of this piea, even if this plea will cause his removal from the United States. The
defendant understands that he is bound by his guilty plea regardless of any immigration

5
Case 3:18-cr-00757-BRM Document 29 Filed 12/20/18 Page 6 of 9 PagelD: 260

consequences of the plea. Accordingly, the defendant waives any and all challenges to his
guilty plea and to his sentence based on any immigration consequences, and agrees not to seek to
withdraw his guilty plea, or to file a direct appeal or any kind of collateral attack challenging his
guilty plea, conviction, or sentence, based on any immigration consequences of his guilty plea.

Registration Consequences

STEPHEN BRADLEY MELL understands that his guilty plea to the charged offenses
will likely result in a requirement that he register as a sex offender under federal and state law,
and he will be subject to the registration law's requirements and penalties. STEPHEN
BRADLEY MELL wants and agrees to plead guilty to the charged offenses regardless of any
registration consequences of that plea. STEPHEN BRADLEY MELL understands that he is
bound by his guilty plea regardless of any registration consequences of the plea. Accordingly,
STEPHEN BRADLEY MELL waives any and all challenges to his guilty plea and to his
sentence based on any registration consequences, and agrees not to seek to withdraw his guilty
plea, or to file a direct appeal or any kind of collateral attack challenging his guilty plea,
conviction, or sentence, based on any registration consequences of his guilty plea.

Adam Walsh Child Protection and Safety Act

STEPHEN BRADLEY MELL has been advised, and understands, that under the Sex
Offender Registration and Notification Act, a federal law, he must register and keep the
registration current in each of the following jurisdictions: where STEPHEN BRADLEY MELL
resides; where he is an employee; and where he is a student. STEPHEN BRADLEY MELL
understands that the requirements for registration include providing his name, his social security
number, the address of any place where he resides or will reside, the names and addresses of any
places where he is or will be an employee or a student, and the license plate number and a
description of any vehicle owned or operated by him, among other information. STEPHEN
BRADLEY MELL further understands that the requirement to keep the registration current
includes informing at least one jurisdiction in which he resides, is an employee, or is a student
not later than three business days after any change of his name, residence, employment, or
student status. STEPHEN BRADLEY MELL has been advised, and understands, that failure to
comply with these obligations subjects him to prosecution for failure to register under federal
law, 18 U.S.C. § 2250, which carries a statutory maximum prison sentence of 10 years and a
statutory maximum fine equal to the greatest of: (1) $250,000; (2) twice the gross amount of any
pecuniary gain that any persons derived from the offense; or (3) twice the gross amount of any
pecuniary loss sustained by any victims of the offense.

Other Provisi

This agreement is limited to the United States Attorney's Office for the District of New
Jersey and cannot bind other federal, state, or local authorities. However, this Office will bring
this agreement to the attention of other prosecuting offices, if requested to do so.
Case 3:18-cr-00757-BRM Document 29 Filed 12/20/18 Page 7 of 9 PagelD: 261

This agreement was reached without regard to any civil or administrative matters that
may be pending or commenced in the future against STEPHEN BRADLEY MELL. This
agreement does not prohibit the United States, any agency thereof (including the Internal
Revenue Service), or any third party from initiating or prosecuting any civil or administrative
proceeding against STEPHEN BRADLEY MELL.

No provision of this agreement shal! preclude STEPHEN BRADLEY MELL from
pursuing in an appropriate forum, when permitted by law, an appeal, collateral attack, writ, or
motion claiming that STEPHEN BRADLEY MELL received constitutionally ineffective

assistance of counsel.

No Other Promises

This agreement constitutes the plea agreement between STEPHEN BRADLEY MELL
and this Office and supersedes any previous agreements between them. No additional promises,
agreements, or conditions have been made or will be made unless set forth in writing and signed
by the parties.

Very truly yours,

CRAI CARFENITO

 

APPROVED:

MARY E, TOSCANO
Deputy Chief, Criminal Division
Case 3:18-cr-00757-BRM Document 29 Filed 12/20/18 Page 8 of 9 PagelD: 262

I have received this letter from my attorney, Robert A. Bianchi, Esq. Ihave read it. My
attomey and I have discussed it and all of its provisions, including those addressing the charges,
sentencing, stipulations, waiver, forfeiture, immigration consequences, and registration
consequences, as well as the impact that Rule 11(c)(1)(C) of the Federal Rules of Criminal
Procedure has upon this agreement. 1 understand this letter fully. I hereby accept its terms and
conditions and acknowledge that it constitutes the plea agreement between the parties. |
understand that no additional promises, agreements, or conditions have been made or will be
made unless set forth in writing and signed by the parties. I want to plead guilty pursuant to this

plea agreement.

AGREED AND ACCEPTED:

Dae: ) 2 26 7H
BRADLEY MELL

I have discussed with my client this plea agreement and all of its provisions,
including those addressing the charges, sentencing, stipulations, waiver, forfeiture, immigration
consequences, and registration consequences, as well as the impact that Rule 11(c)(1\(C) of the
Federal Rules of Criminal Procedure has upon this agreement. My client understands this plea
agreement fully and wants to plead guilty pursuant to it.

A Dae: J 2(Zo/) ¥

OBERT A. BIANCHI
Case 3:18-cr-00757-BRM Document 29 Filed 12/20/18 Page 9 of 9 PagelD: 263

A with STEPH. RADLEY MEL.

Schedule A

1. This Office and STEPHEN BRADLEY MELL agree to stipulate to the
following facts:

a. From at least as early as July 2017 through December 2017, the defendant
knowingly received images of child pornography from Minor Victim 1.

b. With respect to Minor Victim 1, the defendant engaged in a pattern of
activity involving the sexual abuse or exploitation of @ minor.

Cc. The offense involved the use of a computer or an interactive computer
service for the possession, transmission, receipt, or distribution of the material, or for accessing
with intent to view the material.

d, From at least as early as July 2017 through December 2017, and on more
than one occasion, the defendant knowingly traveled in interstate commerce for the purpose of
engaging in illicit sexual conduct with Minor Victim 1, including illegal sexual acts and the
production of child pornography.

2. To the extent that the parties do not stipulate to a particular fact or legal
conclusion, each reserves the right to argue the existence of and the effect of any such fact or
conclusion upon the sentence.

3. In accordance with the above, and pursuant to Rule 11(c)(1)(C) of the
Federal Rules of Criminal Procedure, the parties agree that a sentence of 60 months’
imprisonment and 5 years’ supervised release for the charges contained in the Information is
reasonable under 18 U.S.C. § 3553(a), and neither party will argue for a sentence below or above
60 months' imprisonment and 5 years’ supervised release. Furthermore, should the Court reject
this agreement, either party may elect to be relieved of the terms of this plea and the parties will
be returned to the status prior to the entry of the plea.

4. STEPHEN BRADLEY MELL knows that he has and, except as noted
below in this paragraph, voluntarily waives, the right to file any appeal, any collateral attack, or
any other writ or motion, including but not limited to an appeal under 18 U.S.C. § 3742 ora
motion under 28 U.S.C. § 2255, which challenges the sentence imposed by the sentencing Court
if the sentence imposed is 60 months’ imprisonment and 5 years’ supervised release. This
Office will not file any appeal, motion or writ which challenges the sentence imposed by the
sentencing Court if the sentence imposed is 60 months’ imprisonment and 5 years’ supervised
release. Furthermore, if the sentencing court accepts the stipulations set forth in Schedule A,
both parties waive the right to file an appeal, collateral attack, writ, or motion claiming that the
sentencing Court erred in doing so.
